






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-75,897




EX PARTE PAUL EDWARD CARPENTER Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 02-7-19,537-A IN THE 24th DISTRICT COURT
FROM VICTORIA COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of one count of
aggravated sexual assault of a child and two counts of indecency with a child and sentenced to forty
years’ imprisonment in the aggravated sexual assault count and ten years’ imprisonment for each
count of indecency with a child.  The Thirteenth  Court of Appeals affirmed his conviction.
Carpenter v. State, No. 13-02-630-CR (Tex. App.–Corpus Christi, delivered February 17, 2005, pet.
ref’d).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends, inter alia,  that his conviction for indecency with a child by exposure
in count three violates double jeopardy.  We remanded this application to the trial court for findings
of fact and conclusions of law.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Based upon its review of the record, the trial court determined that Applicant’s conviction
for indecency with a child by exposure was “incident to and subsumed by” the conviction for
aggravated sexual assault as set out in count one, and is therefore in violation of the constitutional
guarantee against double jeopardy.  Patterson v. State, 152 S.W.3d 88 (Tex. Crim. App. 2004). 
Applicant is entitled to relief.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relief is granted.  As it relates to count three only, the judgment in Cause No. 02-7-19,537-A
in the 24th Judicial District Court of Victoria County is set aside.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this opinion shall be sent to the Texas Department of Criminal Justice–Correctional
Institutions Division and Parole Division.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other relief requested is denied.
&nbsp;
Delivered:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;April 9, 2008
Do Not Publish


